Case 1:02-cV-01203-.]DB-tmp Document 52 Filed 07/01/05 Page 1 of 5 Page|D 73

 

/
UNITED STATES DISTRICT COURT 05 ll " " an
WESTERN I}ISTRICT OF TENNESSEE `”‘1/1 - / 54
EASTERN DIVISION
ROBERT CARR, )
)
Plaintiff )
)
v. ) No. 1:02-0] 203-Bre-P
)
CORRECTIONS CORPORATION )
OF AMERICA, et al., )
)
l)efendants )

 

AGREEI) ORDER OF I)ISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, with full prejudice, the
Court therefore finds that this cause should be dismissed, with full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Correetions
Corporation of Arnerica, Doctor Crants, Prison Realty Trust, Inc., Correctional
Management Services Corporation, Prison Realty Management, Inc., and Prison
Management Services, Inc., with prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this oause,
including filing fees, will be paid by Plaintift` and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, will be applied for or awarded by

either party.

This
document entered on the docket sheet in compliance

wah sure ss and,'or_rs (a) FHcP an 111/lo M_S

Case 1:02-cv-Ol203- .]DB- -tmp Document 52 Filed 07/01/05 Page 2 of 5 Page|D 74

Dated: this _/_<;_b day ofg/Q~y/ , 2005.
J. /DANIEL BREEN \
lT D STATES DISTRICT JUDGE

APPROVED FOR ENTRY:

%/t/Mdm@?@‘/{Srw W

 

 

JAMES l. PENTECOST MYNEK. MTCI§TE, 1`1`"*
BRANDON O. GIBSON ROBERT W. Rl'I`CHIE
PENTECOST, GLENN & RUDD, PLLC RITCHIE, FELS & DILLARD
106 Stonebridge Blvd. P.O. Box 1126

Jackson, Termessee 38305 Knoxville, Tennessee 37901-1 126
ROBERT J. WALKER W. GAS'I`ON FAIREY

MARK TIPPS W. GASTON FAIREY, LLC
JOSEPH WELBORN 1722 Main Street, Suite 300

WALKER, BRYANT, TIPPS & MALONE Columbia, South Carolina 29201
2300 One Nashville Place

150 Fourth Avenue North COUNSEL FOR PLAINTIFF
Nashville, TN 37219-2424

COUNSEL FOR DEFENDANTS

Case 1:02-cV-Ol203-.]DB-tmp Document 52 Filed 07/01/05 Page 3 of 5 Page|D 75

CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1 126,
Knoxville, TN 37901-1 126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, SC 29201 on Iune ;&_, 2005.

PENTECOST, GLENN & RUDD, PLLC

By; %/@YU/UW 576{%_/0*\-)

J ames I. Pentecost (#01 1640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 1:02-CV-01203 was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

ESSEE

 

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Joseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Robert J. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

J. Mark Tipps

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901--112

Case 1:02-cV-Ol203-.]DB-tmp Document 52 Filed 07/01/05 Page 5 of 5 Page|D 77

Honorable J. Breen
US DISTRICT COURT

